     Case 1:15-cr-00010-RJA-HBS Document 101 Filed 01/18/18 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

             v.                                              15-CR-10-A

CHARLES WEBER,

                        Defendant.
______________________________________________



         GOVERNMENT EXHIBIT LIST FOR COMPETENCY HEARING

      THE UNITED STATES OF AMERICA, by and through its attorney, James P.

Kennedy, Jr., United States Attorney for the Western District of New York, and the

undersigned, of counsel, hereby submits the attached Exhibit List for Competency Hearing,

which Competency Hearing is scheduled before this Court on January 19, 2018.



      DATED:        Buffalo, New York, January 18, 2018.


                                               JAMES P. KENNEDY, JR.
                                               United States Attorney

                                         BY:   S/MARYELLEN KRESSE
                                               Assistant U.S. Attorney
                                               United States Attorney’s Office
                                               Western District of New York
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   Case 1:15-cr-00010-RJA-HBS Document 101 Filed 01/18/18 Page 2 of 2




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK

                    COMPETENCY HEARING EXHIBIT LIST
                             U.S. v. CHARLES WEBER

Case No.   15-CR-10-A                                               X     Government
Date:      1/18/2018                                                      Defendant
EXHIBIT                                                                          Date
NUMBER                      DESCRIPTION                           Mark for        In
                                                                   Ident.      Evidence
           Forensic Psychological Evaluation by Daniel
    1      Antonius, Ph.D., dated 7/27/17


           Forensic Evaluation by Ana Natasha Cervantes,
    2      M.D. and Melissa D. Heffler, M.D., dated
           10/30/16
           Forensic Evaluation Addendum by Ana Natasha
    3      Cervantes, M.D., dated 11/2/17


           George F. Parker, Competence to Stand Trial
           Evaluations of Sovereign Citizens: A Case Series and
    4
           Primer of Odd Political and Legal Beliefs, 42 J. Am.
           Acad. of Psychiatry & L., 338 (2014)
           Jennifer Pytyck & Gary A. Chaimowitz, The
           Sovereign Citizen Movement and Fitness to Stand
    5
           Trial, 12 Int’l. J. of Forensic Mental Health, 149
           (2013)




  3501     Curriculum Vitae of Daniel Antonius, Ph.D.
